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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
VS. Case No.: 22-cr-00115-CVE
ORDER APPOINTING COUNSEL
Nicole Cox ,
Defendant(s).

Defendant has completed an affidavit as to his/her financial ability to employ counsel. Upon
review, the Court finds that Defendant is financially unable to obtain counsel. In accordance with the
Northern District of Oklahoma Plan for Implementing the Criminal Justice Act of 1984, the Court
finds and orders as follows:

O , the Federal Public Defender is appointed to represent Defendant in
all further proceedings until relieved by order of the Court.

x Michael Noland , an attorney from the Court’s panel of private attorneys,
established pursuant to the Criminal Justice Act for the Northern District of Oklahoma, is
appointed to represent Defendant in all further proceedings until relieved by order of the Court.

O Defendant will reimburse the government for the reasonable cost of providing representation
in accordance with his/her ability to pay as determined by further order of the court.
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Date: 5/26/2022

Cpe hy

Jodi ¥ Jayne, U.S. Magistrate Judge

IA Arraignment Indictment Detention (12/2021)
